                             Kameni v. Ocwen Loan Servicing, LLC (4th Cir., 2015)




  ARIANE LEA TIANI KAMENI, a/k/a                           cv-00877-PJM; 14-11570 (D. Md. July 17,
  Ariane Tiani, a/k/a Ariane Kameni,                       2014). We dispense with oral argument
          Debtor - Appellee,                               because the facts and legal contentions are
                   v.                                      adequately presented in the materials before
   OCWEN LOAN SERVICING, LLC,                              this court and argument would not aid the
   Creditor - Appellant, TIMOTHY P.                        decisional process.
     BRANIGAN, Trustee, Trustee.
                                                               AFFIRMED
                 No. 14-1736

UNITED STATES COURT OF APPEALS
    FOR THE FOURTH CIRCUIT

     Submitted: December 17, 2014
           January 6, 2015

UNPUBLISHED

Appeal from the United States District Court
for the District of Maryland, at Greenbelt.
Peter J. Messitte, Senior District Judge.
(8:14-cv-00877-PJM; 14-11570)

Before KING and GREGORY, Circuit Judges,
and DAVIS, Senior Circuit Judge.

Affirmed by unpublished per curiam opinion.

Billy B. Ruhling, II, Richard E. Hagerty,
TROUTMAN SANDERS LLP, Tysons Corner,
Virginia, for Appellant. Ariane Lea Tiani
Kameni, Appellee Pro Se.

Unpublished opinions         are    not    binding
precedent in this circuit.

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PER CURIAM:

     Ocwen Loan Servicing, LLC, appeals
from the district court's order affirming the
bankruptcy court's order granting the
Debtor's motion to extend the automatic stay
in the underlying Chapter 13 proceeding. We
have reviewed the record included on appeal,
as well as Ocwen's brief, and find no
reversible error. Accordingly, we affirm for
the reasons stated by the courts below.
Kameni v. Ocwen Loan Serv., LLC, Nos. 8:14-
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